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lN Tl-lE UNITED STATES DISTRICT COURT
FOR THE EASTERN DlSTRlCT OF CAI_.IFOR`NIA

 

 

 

 

lJASON DEAVER

Plaintift`(s) .

N .
vs. 0 1-11-cv-o1736

|iuARcARET MlMs, ET AL REQUEST FOR AUTHORITY To 1NCUR

D d CosTs (APPO\NTED couNsEL,) AND

ef°" ama REQuEsT ron PAYMENT
;

 

 

 

REQUEST OF PRO BONO FOR PRE»APPROVAL. OF EXPENDITURES

Complete this form and return it to the court (vvith two copies) for approval prior to incurring the
cost for which reimbursement is requested.

 

l, |WtLLlAM L. SCHM|DT ` , attorney for plaintit't`(s), declare as follows:

l was appointed to re resent lainti s in this action on l3»"26»"14 , by the
Honorable HElLA K.OBERTO , United Statcs District JudgefMagistrate Judge.
l believe that the following course of action is reasonably necessary to the prosecution of this
action:

 

 

'Deposition of the PMK at the Fresno County Jai| and Defendant Narayan at Avena| State Prison.

Couuse.l seeking reimbursement must support all claimed expenses by submitting invoices, receipts or similar
tloeun\enl:ltiuu. Witl\uut such tloeumentntioll, counsel will not be rcirubul'setl.

l have made reasonable inquiry and believe that the cost of this course of action will not exceed
the amount of $ 81.93

t

l therefore request that this court authorize the expenditure in au amount not to exceed that stated
above for the completion of this contemplated course of action.

 

 

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REQUEST OF PRO BONO FOR PRE-APPROVAL OF EXPENDITURES - PAGE 2
CBSC Number: 1_1 1_CV_0-1736

 

The following payments ot` costs have been heretofore approved in this matter:

 

 

 

 

 

Amount Amount
Approved Purpose Paid
l |Auto travel round trip to Avena| State Prison from Fresno |8‘1.93
|2 Depositions |800

 

 

 

 

 

 

 

 

 

 

 

 

i declare under penalty of perjury that the foregoing is true and correct.

 

Signed this |10 day of |February , 20 |15 , at |FRESNO , California.

 

’WTLL|AM L. SCHMlDT

 

Attorney for P|aintifi`(s)

The above expenditure is 2§ Approved Denied

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ngth #<QM'

f
Uuited StatesW~/lagistrate .ludgc

 

Dated: Zl/HI[/ S_/_

 

